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United States District Court
For the District of Columbia
_________________________________
                                   )
UNITED STATES OF AMERICA,          )
                                   )
           v.                      )                 No. 21-CR-53 (CJN)
                                   )
EDWARD JACOB LANG,                 )
                                   )
                   Defendant.      )
__________________________________ )


  LANG’S EMERGENCY MOTION FOR TRANSFER TO DC JAIL, OR,
        ALTERNATIVELY EXTENDED COMPUTER TIME
    AND ACCESS TO DISCOVERY WHILE AT BROOKLYN MDC

        Now comes EDWARD JACOB LANG, by and through his undersigned

counsel, and moves this Court for a transfer back to DC Jail, and an order that he

continue the computer privileges to allow for extended access to a computer so that

he can access two hard drives (hereafter “drives”) containing his discovery.

Alternately, it is respectfully requested that computer access be granted to Lang

while he remains at Brooklyn MDC, with the same, or greater than editing

capability– as the privilege he was afforded while at the DC jail.

   I.        REQUESTS FOR RELIEF

        1.     Currently, it is our understanding that the government does not seek to

further pursue the 1512 charges in this matter. However, the government does wish

to supersede the indictment once again, thereby adding another assault count.
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      2.     With trial scheduled for September 9, 2024, and a new charge being

added, going to trial in less than 30 days is not practical.

      3.     Mr. Lang needs access to a computer, with editing capability while at

Brooklyn MDC. Lang has an outstanding Hybrid representation application pending,

and wishes to be a part of comprising the defense exhibits to be presented at trial.

Now the devise remains in limbo, and such location remains unknown to Lang’s

defense team.

      4.     As argued to this Court in the past, Lang has a Sixth Amendment right

to participate in, and, indeed, conduct—his own defense. McKaskle v. Wiggins, 465

U.S. 168, 174, 104 S. Ct. 944, 79 L. Ed. 2d 122 (1984) (highlighting “Counsel

Clause” of the Sixth Amendment “implies a right in the defendant to conduct his

own defense, with assistance at what, after all, is his, not counsel’s trial.”); See also

Jones v. Barnes, 463 U.S. 745, 751, 103 S. Ct. 3308, 77 L. Ed. 2d 987 (1983)

(recognizing that “the accused has the ultimate authority to make certain

fundamental decisions regarding the case, such as to whether to plead guilty, waive

a jury, testify in his or her own behalf, or take an appeal”) (citing Wainwright v.

Sykes, 433 U.S. 72, 93 n. 1, 97 S.Ct. 2497, 2509 n. 1, 53 L.Ed.2d 594 (1977)

(BURGER, C.J., concurring).

      5.     Lang’s inability or the limited ability to access trial materials

constitutes a Sixth Amendment violation. United States v. Darden, 2017 U.S. Dist.
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LEXIS 137942, at 6 (M.D. Tenn. Aug. 28, 2017) (holding that defendant’s inability

to access discovery in jail, if uncorrected, would create Sixth Amendment problem).

      6.     After all this time, and all these transfers, Lang needs to be a more

active member in his own defense under the Sixth Amendment, which cannot be

stressed enough.

      7.     Lang needs to be able to assist in his defense obtaining all his trial

witnesses and trial exhibits; not to mention he must be a more active participate in

reviewing his discovery as to assist his defense in conducting theories for his defense

and cross examination questioning, such examples do not include his ability to frame

a complete defense.

      Wherefore, he respectfully requests that this Honorable Court order he be

granted extended computer time and access to all discovery.

Dated: August 12, 2024                  Respectfully Submitted,

                                        /s/ Steven Alan Metcalf II
                                        _______________________________
                                        STEVEN A. METCALF II, ESQ.
                                        Metcalf & Metcalf, P.C.
                                        99 Park Avenue, Suite 810
                                        New York, NY 10016
                                        (Office) 646.253.0514
                                        (Fax) 646.219.2012




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                          CERTIFICATE OF SERVICE

I HEREBY CERTIFY that a copy of the foregoing has been served upon counsel
for all parties to this proceeding as identified below through the court’s electronic
filing system as follows:


                                              /s/
                                        ___________________________
                                        STEVEN A. METCALF II
                                        Attorney for Edward Jacob Lang
  Dated: August 13, 2024




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